Case 5:17-cv-00654-XR Document 4 Filed 08/01/17 Page 1 of 3
Case 5:17-cv-00654-XR Document 3 Filed 07/20/17 Page 1 of 2

AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the

Western District of Texas

ABEL MESA

 

Plaintiff(s)
Vv.

THE CITY OF SAN ANTONIO,
ACTING BY AND THROUGH ITS
AGENT, CITY PUBLIC SERVICE

BOARD D/B/A CPS ENERGY

Defendant(s)

Civil Action No. 5:17-cv-00654-XR

SO OR OH HS HS HS ww ww

SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) THE CITY OF SAN ANTONIO, ACTING BY AND THROUGH ITS AGENT, CITY
PUBLIC SERVICE BOARD D/B/A CPS ENERGY
Leticia M. Vacek, City Clerk, City of San Antonio, Office of the City Clerk, 100 Military
Plaza, San Antonio, Texas 78205.

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are: Alan Braun

PONCIO LAW OFFICES, PC
5410 Fredericksburg Rd., Suite 109
San Antonio, Texas 78229

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF CourT JEANNETTE J. CLACK

4
Date: July 20, 2017 Qe ann Qorto

Signature of Clerk b- Deputy Clerk

 

 
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Case 5:17-cv-00654-XR Document 3 Filed 07/20/17 Page 2 of 2

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No. 5-4 7-cy-00654-XR

 

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (1)

This summons for (name of individual and title, fany) Leticia M. Vacek, City of San Antonio City Clerk

 

was received by me on (date) July 27, 2017

C1 I personally served the summons on the individual at (place)

 

on. (date) 3 or

 

OF I left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

 

on (date) , and mailed a copy to the individual’s last known address; or

DI served the summons on (name of individual) Leticia M. Vacek City Clerk , who is
designated by law to accept service of process on behalf of (name of organization) The City of San Antonio, Acting

by and through its agent, City Public Service Board — ©" @#) _ July 26, 2017 3 OF

d/b/a CPS Energy
C1 [returned the summons unexecuted because 3 or

 

C1 Other (specify):

My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date: August 1, 2017 Conte ay

Server's signature LU

Debra Cortez, Paraleagal

 

Printed name and title

5410 Fredericksburg Rd., Suite 109
San Antonio, Texas 78229

 

Server's address

Additional information regarding attempted service, etc:

 

 

 
 

 

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Pag 3

 

 

First-Class Mail
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USPS _ a
Permit No. G-10

 

 

 

United States °® Sender: Please print your name, address, and ZIP+4° in this box®

PONCIO LAW OFFICES
A Professional Corporation
5410 Fredericksburg Rd., Suite 109

San Antonio, Texas PER ul 97 2017

A. Meso (OC)

Postal Service

 

 

 

 

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SENDER: COMPLETE THIS SECTION

@ Complete items 1, 2, and 3. :

@ Print your name and address on the reverse
so that we can return the card to you.

@ Attach this card to the back of the malipiece,
or on the front if space permits.

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COMPLETE THIS SECTION ON DELIVERY

 
    
 
 
 

1 Agent
CI Address«
> C. Date of Delive

 

 

 

1. Article Addressed to:

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46 LHAaM. Vang

fee Clerk
[OD Mili cs nas
San Antorvtio, & 7205

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9590 9402 3042 7124 3657 68

 

 

 

3. Service Typé

O Adult Signature
O Adult Signature Restricted

EF Cerlified Mail®

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O Gollect on Delivery

 
 
 

 

2. Particle Number (Transfer from service label)

7015 1730 OOO;L 7846 b2@34

 

PS Form 381 1, July 2015 PSN 7530-02-000-9053

  

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(ever $500)

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